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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA,
                                                  Case No. 3:23-cr-149
                  Plaintiff,
                                                  UNITED STATES’ MOTION FOR
                  v.                              EXTENSION OF TIME TO FILE A
                                                  SENTENCING MEMORANDUM
 COLLIN RAY DELORME,
 a/k/a COLLIN RAY DELORME SR.,

                  Defendant.

       The United States of America, by Mac Schneider, United States Attorney for the

District of North Dakota, and Lori H. Conroy, Assistant United States Attorney,

respectfully requests the Court extend its deadline for filing a sentencing memorandum

in this case to Friday, February 7, 2025.

       At the request of the Defendant, sentencing was rescheduled from February 18,

2025, to February 12, 2025, making today the deadline for the United States to file its

sentencing memorandum. (Doc. 55-57.) D.N.D. Crim. L. R. 32.1(B). The Presentence

Investigation Report (“PSR”) as to Defendant was just filed today. (Doc. 60.) After

consultation with and agreement from the United States, Defendant moved for an

extension of the sentencing memorandum deadline for both parties, to allow both parties

sufficient time to prepare. (Doc. 58.) The Court granted the motion by text Order,

indicating “Defense counsel shall file its sentencing memorandum on 2/7/2025.” (Doc.

62.) The United States respectfully requests the same additional time, until Friday,

February 7, 2025, to review the filed PSR and draft any sentencing memorandum.

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Dated: February 5, 2025

                                MAC SCHNEIDER
                                United States Attorney

                          By:   _____________________________________
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